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                     IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF UTAH


  KATE GRANT,

                         Plaintiff,                MARY STREET’S RESPONSES TO
  v.                                               PLAINTIFF’S SECOND SET OF
                                                   DISCOVERY REQUETS
  KEVIN LONG; MILLCREEK
  COMMERCIAL PROPERTIES, LLC;                       Case No.: 2:23-cv-00936-DBB-DAO
  COLLIERS INTERNATIONAL; BRENT
  SMITH; SPENCER TAYLOR; BLAKE                      District Judge David Barlow
  MCDOUGAL; and MARY STREET,
                                                    Magistrate Judge Daphne A. Oberg
                         Defendants.


           Defendant Mary Street responds to Plaintiff’s Second Set of Discovery requests as

follows:

                           RESPONSES TO INTERROGATORIES

           Interrogatory No. 1. Describe the role Lloyds of London played, if any, in the

Millcreek TIC program.

           Response: Ms. Street has no first-hand information regarding this.

           Interrogatory No. 2.        Describe all bonds issued for the Naperville property and

whether a claim was ever made against any such bond.
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            Response: Ms. Street was told there was a “performance bond” to guarantee that the

tenant (Advanced Care Medical) would pay rent for the first two years of the lease. When the

tenant defaulted, Ms. Street requested a copy of the bond document from Millcreek Commercial

and sent what she received to the attorney in Illinois who Ms. Street retained for the Naperville

owners and asked her to do what was needed to file a claim with the insurance (bond) company.

            Interrogatory No. 3. Describe the relationship between Colliers International and

Millcreek Commercial and whether Millcreek Commercial had permission to use Colliers

International’s name and logo in its promotional and marketing materials.

            Response: Ms. Street has no knowledge regarding this interrogatory other than her

belief that Millcreek Commercial sales agents operated out of the Colliers office in Pleasant Grove

and that their real estate licenses were affiliated with Colliers.

            Interrogatory No. 4.        Describe the nature of the relationship between Colliers

International and each Defendant at the time of the Plaintiffs’ investment in the tenancy-in-

common program.

            Response: Ms. Street had no relationship with Colliers International at the time of

Plaintiff’s investment in the tenancy-in-common program. Ms. Street has no first-hand knowledge

of the relationship between Colliers International and any other defendants.

            Interrogatory No. 5. Identify Millrock Fund 1’s total percentage ownership in the

Naperville Property and how much Millrock Fund 1 paid for that percentage.

            Response: Millrock Investment Fund 1, LLC had 0% Ownership in the Naperville

property after selling to investors. After the “capital call” to provide tenant improvements for

Neuragenex, I was told that Millrock Investment Fund offered to pay the capital call for owners
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who did not want to invest more money provided that those owners would deed back a portion of

their ownership to Millrock Investment Fund in exchange. As of July 5, 2024, Millrock Investment

Fund’s ownership percentage is 15.8977%.

            Interrogatory No. 6.      Before Neuragenex (“NGX”) could occupy the Naperville

property, some owners agreed to a capital call to purchase equipment for NGX. What equipment

did the capital call money purchase, and what happened to the equipment after NGX’s bankruptcy

proceedings?

            Response: Ms. Street has no knowledge regarding this.

            Interrogatory No. 7. Describe the Millcreek TIC program and how it works.

            Response: Ms. Street objects to the extent this interrogatory is overly broad, vague

and ambiguous, seeks information for which she lacks foundation, and calls for speculation.

Subject to, and without waiving these objections, Ms. Street indicates that she is not involved with

the acquisition and disposition of property by Millcreek. What she knows about the “TIC program”

is the following basic understanding of the sales model as it has been described to her: Millrock

Investment Fund identifies NN and NNN-leased investments, acquires them as the owner, and

markets the properties for re-sale as tenant-in-common properties using Millcreek Commercial as

broker.

            Interrogatory No. 8. Describe each Defendant’s individual role as it relates to the

Millcreek TIC program.

            Response: Ms. Street objects to the extent this interrogatory is overly broad, vague

and ambiguous, seeks information for which she lacks foundation, and calls for speculation.

Subject to, and without waiving these objections, Ms. Street indicates her understanding as
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follows: Kevin Long is/was a principal at Millcreek Commercial Properties, LLC; Millcreek

Commercial Properties, LLC is/was the acquisition and disposition company for Millrock

Investment Fund; Colliers International was the real estate broker where Mr. Long and Millrock

agents for a time held their licenses; Brent Smith is/was a principal at Millcreek Commercial

Properties, LLC; Spencer Taylor had some affiliation with Millcreek Commercial Properties, LLC,

but Ms. Street does not know what his title was; unsure regarding Blake McDougal; Mary Street

is a licensed real estate agent at Mountain West Commercial Real Estate and the manager of a

Tenant-In-Common administration service called CAMS Realty that operates as a business unit

under Mountain West Commercial Real Estate.

            Interrogatory No. 9. When Kate Grant requested to sell her TIC interest related to

the Naperville property, Brent Smith recommended that she not sell her property. If you were privy

to that conversation, describe the rationale and information used to make that recommendation as

you understand it.

            Response: Ms. Street does not recall being part of this conversation.

                                         VERIFICATION

       I, Mary Street, state under oath or affirmation that I have reviewed the Responses to

Plaintiff’s Interrogatories, and that the responses to interrogatories are true and correct to the best

of my knowledge and belief.

                                       Dated this 8th day of July 2024.

                                       /s/ Mary Street (signed by counsel with
                                       client’s permission)
                                       _______________________________

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           RESPONSES TO REQUEST FOR PRODUCTION OF DOCUMENTS

        Request No. 1. Produce all Communications with or related to Kate Grant or Karmann Kasten,

LLC.

        Response: Ms. Street will produce these documents, some parts or pages of which will be

redacted because they involve subject matters not related to the Naperville property at issue in this

case. Ms. Street’s counsel plans to produce the documents on July 10, 2024 to which Plaintiff’s counsel

has agreed.

        Request No. 2. Produce all documents related to the value of the Naperville property at the

time of the interest purchase by Plaintiffs on April 12, 2021.

        Response: Ms. Street was not involved in this purchase. If such documents are in her

possession they will be produced, subject to the redactions of non-relevant documents. Ms. Street’s

counsel plans to produce any such documents on July 10, 2024 to which Plaintiff’s counsel has agreed.

        Request No. 3. Produce all documents related to the Naperville property that were available

as marketing materials, tenant information, bond information, or other information at the time of Kate

Grant’s purchase on April 12, 2021.

        Response: Ms. Street was not involved at the time of the purchase. If such documents are in

her possession they will be produced, subject to the redactions of non-relevant documents. Ms. Street’s

counsel plans to produce any such documents on July 10, 2024 to which Plaintiff’s counsel has agreed.




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        Request No. 4. Produce copies of all financial and accounting records related to the Naperville

property and its transactions with tenants Advance Care Medical, Inc. (“ACM”), Healthcare Solutions

Holdings Inc. (“HSH”), and NGX, including an accounting of the capital call to purchase equipment

for NGX.

        Response: Ms. Street will produce the financial and accounting documents in her possession

some parts or pages of which will be redacted because they involve subject matters not related to the

Naperville property at issue in this case. Ms. Street’s counsel plans to produce the documents on July

10, 2024 to which Plaintiff’s counsel has agreed.

        Request No. 5. Produce all Documents and Communications related to tenants ACM, HSH,

and NGX, including but not limited to leases, letters of intent, text messages, emails, and voicemails.

        Response: Ms. Street will produce the documents in her possession some parts or pages of

which will be redacted because they involve subject matters not related to the Naperville property at

issue in this case. Ms. Street’s counsel plans to produce the documents on July 10, 2024 to which

Plaintiff’s counsel has agreed.

        Request No. 6. Produce all Documents and Communications related to the Naperville

property.

        Response: Ms. Street will produce the documents in her possession some parts or pages of

which will be redacted because they involve subject matters not related to the Naperville property at

issue in this case. Ms. Street’s counsel plans to produce the documents on July 10, 2024 to which

Plaintiff’s counsel has agreed.

        Request No. 7. Produce any written or oral agreements with Colliers International or any

affiliate related to their connection with Millcreek Commercial and the Millcreek TIC program.

        Response: Ms. Street has no documents responsive to this request.
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       Request No. 8. Produce all Documents used as marketing materials for the Naperville

property’s TIC program.

       Response: Ms. Street has no documents responsive to this request.

       Request No. 9. Produce all Documents and Communications related to any bond associated

with the Naperville property and all Documents and Communications related to any claims made

against the bond.

              Response: Any such documents will be included in the documents produced, subject to

the redactions of non-relevant documents. Ms. Street’s counsel plans to produce the documents on July

10, 2024 to which Plaintiff’s counsel has agreed.

                                                    DATED this 8th day of July 2024.

                                                    STRONG & HANNI

                                                           /s/ Stuart H. Schultz
                                                    By ____________________________________
                                                       Stuart H. Schultz
                                                       Attorneys for Defendant Mary Street




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